                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,                                     )
                                                              )
                                      Plaintiff               )
                                                              )
                       v.                                     )      Civil Action
                                                              )      No. 11-03021-02-CR-S-GAF
                                                              )
CHRISTOPHER M. HOLMES,                                        )
                                                              )
                                      Defendant.              )


                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE


         This matter is set for trial to commence on April 23, 2012. On April 3, 2012, the defendant

filed a Motion to Suppress. As grounds, he states that statements obtained during a custodial

interrogation were made without the defendant being advised of his constitutional rights; that he did

not knowingly, intelligently and voluntarily waive his right to remain silent, his right to counsel

or his right to have counsel appointed for him. He further states that the length and nature of his

custody, and the nature and duration of defendant’s interrogation were inherently coercive, and

further that the statements are not an accurate reflection of the conversation between the defendant

and the interrogating officials. The matter was called for a hearing on April 6, 2012. The United

States called as its witness Sean Henry, a special agent with the Drug Enforcement Administration

(DEA).

         The credible evidence establishes that Special Agent Henry followed a SWAT team to a

residence at 3146 West Knob Hill in Springfield, Missouri, for the purpose of executing a search

warrant. There were 14 to 16 members of the SWAT team and 8 to 10 DEA agents who conducted




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the search. The SWAT team entered the residence by use of a “flash bang.” After the entry was

obtained, the search began, and the defendant was handcuffed and remained seated in the living

room. Special Agent Henry read his Miranda card verbatim, and the defendant exhibited an

understanding of his rights. After an initial interrogation, cocaine was located in the residence and

a second interrogation occurred approximately an hour after the first. During both interrogations,

the defendant made incriminating statements.

        The evidence clearly establishes that the defendant was read his Miranda rights before any

questioning. While there was a significant law enforcement presence, there is no evidence that the

defendant felt in any way coerced or that the presence of the officers created an environment that

was inherently coercive. It was mentioned that the defendant was disoriented, after the flash bang.

The record supports the conclusion that any disorientation was temporary. There is no evidence to

suggest that his ability to understand the Miranda warnings were impaired.      It is therefore

         RECOMMENDED that the Motion to Suppress be denied.



                                                /s/ James C. England
                                              JAMES C. ENGLAND
                                              United States Magistrate Judge


Date:   April 11, 2012




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